Case 1:16-cv-00299-MSK-KMT Document 203 Filed 05/18/18 USDC Colorado Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-00299-MSK-KMT

   SYLVESTER CUEVAS,

          Plaintiff,

   v.

   UNITED STATES OF AMERICA,
   C/O J. RODRIGUEZ,
   C/O LOZANO,
   CASE MANAGER HEWITT,
   C/O MARSHALL,
   C/O PERKINS,
   C/O GOMEZ,
   C/O MCAVEY,
   C/O LEE,
   C/O MANES,
   C/O MANESS,
   C/O WADAS,
   C/O HUMPHRIES,
   C/O ROBINSON,
   C/O BERG,
   C/O PETERS, and
   C/O MUNOZ,

          Defendants.


                                         NOTICE OF APPEAL


          Defendants Manes, Rodriguez, Munoz, Gomez, Humphries, Lozano, Perkins, and Peters

   hereby appeal to the United States Court of Appeals for the Tenth Circuit from the district court’s

   Opinion and Order Granting in Part and Denying in Part Motion for Summary Judgment, Doc. 198,

   entered on March 19, 2018. See Wilkie v. Robbins, 551 U.S. 537, 549 n.4 (2007); Mitchell v. Forsyth, 472

   U.S. 511, 528 (1985).
Case 1:16-cv-00299-MSK-KMT Document 203 Filed 05/18/18 USDC Colorado Page 2 of 2




                                                         Respectfully submitted,

                                                         ROBERT C. TROYER
                                                         United States Attorney


                                                         s/Juan G. Villaseñor
                                                         JUAN G. VILLASEÑOR
                                                         Assistant United States Attorney
                                                         United States Attorney’s Office
                                                         1801 California Street, Suite 1600
                                                         Denver, Colorado 80202
                                                         Telephone: (303) 454-0185
                                                         Email: Juan.Villasenor@usdoj.gov

                              CERTIFICATE OF SERVICE (CM/ECF)

          I hereby certify that on May 18, 2018, I electronically filed the foregoing with the Clerk of
   Court using the CM/ECF system which will send notification of such filing to the following e-mail
   addresses:

   jwolfsonlaw@gmail.com

   and I hereby certify that I have mailed or served the document or paper to the following non
   CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by nonparticipant’s name:

   None.

                                                         s/Juan G. Villaseñor
                                                         JUAN G. VILLASEÑOR
                                                         Assistant United States Attorney




                                                     2
